 

@ffice ot the ##edical Examiner

Eighteenth District - Brevard County

District Medical Examiner Sajid Qaiser, MD, FCAP, FRCPC
Diplomate of American Board of Pathology - Anatomic, Clinical & Forensic
Diplomate of Royal College of Physicians & Surgeons of Canada
Associate Medical Examiner Krzysztof Podjaski, MD

1750 Cedar Street, Rockledge, FL 32955 - Phone (321) 633-1981 * Fax (321) 633-1986

 

Name of Deceased: WHITMER, JR., DONALD ME#: A-18-393

Place of Residence: 261 EDGEVALE ROAD S.E. Age: 45

PALM BAY, FL 32909

Place of death: HOLMES REGIONAL MEDICAL CENTER Race: W

MELBOURNE, FL 32901

Date and time of death: 05/21/2018 @ 1250 HOURS Sex: M

Date and time of autopsy: 05/22/2018 @ 0915 HOURS

CAUSE OF DEATH: AGITATED DELIRIUM AND COMPLICATIONS

DUE TO: AMPHETAMINE AND METHAMPHETAMINE TOXICITY

OTHER SIGNIFICANT CONDITION: OPIOIDS TOXICITY, CORONARY BRIDGING, LUNG

ADHESIONS, OVERWEIGHT, HYPERTENSION

MANNER OF DEATH: ACCIDENT

Oo

OrAADU SF WNR

Autopsy Findings

Minor external body gross injuries.

No gross internal body trauma.

Evidence of resuscitation and the effects of resuscitation.
Extensive adhesions of left lung and chest wall.

Bridging of left descending coronary artery.

Focal hemorrhage into the muscle of anterior half of tongue.
Overweight, 227 pounds.

Toxically significant amphetamine, methamphetamine, oxycodone, and
oxymorphone in body system, postmortem toxicology.

(Clinical history of hypertension].
Name of Deceased: WHITMER JR., DONALD ME#: A-18-393

NOTANDA: As per investigations, deceased allegedly was in erratic
behaviors, when he was tried to be brought under control, subsequently he
went unresponsive. He was pronounced at a local hospital.

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feria S. Qaiser, MD, FCAP, FRCPC

Technicians present: Nicole Brett
Vicky Strong
Tamika Mounsey

EXTERNAL EXAMINATION

Identification: A tag attached to the right ankle identifies the body.
The right wrist has a band with inscription of MR# H000918559.

The unembalmed remains are those of an overweight white male, appearing
consistent with the stated age, measuring 73 inches in length and 227
pounds in weight.

The face has trimmed gray mustache and beard. The scalp is covered by
very short, gray mixed brown, spiky and straight
hair. The irides are light brown, the pupils are equal and the sclerae
are unremarkable. The jaws are edentulous. The oral mucosa and frenula
are grossly intact and unremarkable. The external genitalia are those of
an adult circumcised male. Both testes are intact within the grossly
unremarkable scrotal sac. On the middle and lower backs are multiple
tiny lesions, consistent with acne. Multiple tattoos are seen on body
skin. A curvilinear scar is on the left side of the posterior scalp.

Clothing: The body is clothed in a white left foot sock.

Postmortem Changes: Livor mortis is partially fixed on the back. Rigor
mortis is generalized and has full extent.

Therapeutic Intervention: The following objects/lines are found applied
to the body: endotracheal and nasogastric tubes, intravenous and
intraosseous lines and electrocardiographic pads.

Note: Internally, multiple ribs are note fractured without displacement
and with very little blood leaks in the surrounding soft tissues,

consistent with cardiopulmonary resuscitation.

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Name of Deceased: WHITMER JR., DONALD ME#: A-18-393

EVIDENCE OF INJURY

Externally: On the central forehead are two small (1/4 inch and 1/8
inch) abrasions. On the left upper medial back are two medium sized (7
inch and 3-1/2 inch) linear abrasions, with oozing of blood. On the
right shoulder is a 1/2 inch abraded contusion and a 1 inch faint red
contusion. On the left ventral forearm is a 1/2 inch red contusion. On
the dorsal left forearm are three small abrasions, each about 1/2 inch in
maximum dimensions, and a 1/2 inch red contusion. On the back of left
hand is a 1 inch x 1 inch bluish red contusion and a 1/4 inch abrasion at
the base of the index finger. On the right anterior thigh are two
contusions, the upper one is red and measures 1-1/4 inch and the lower
one is brown and measures 2 inch x 2 inch. On the posterior left middle
thigh is a 2-1/2 inch x 2 inch blue contusion.

Internally: There is no gross trauma, except for the broken ribs (CPR),
described above.

INTERNAL SYSTEMIC EXAMINATION

Body Cavities: The body cavities are entered in the usual manner and the
organs are removed with the Virchow’s technique. The organs are in their
usual anatomic positions.

Head: The scalp is reflected after the usual intermastoid incision and
is free of subcutaneous or subgaleal hemorrhage. The calvarium is intact.
The external meninges are unremarkable, without epidural or subdural
hemorrhage. The brain is removed and weighed. The pre-fixation brain
weight is 1350 grams and is covered by glistening, transparent
leptomeninges. The cerebrospinal fluid is’ clear. The cerebral
hemispheres are symmetrical. The vessels at the base of the brain are
intact and normal. The cranial nerves appear normal. Upon removal of
the brain and stripping the dura, the base of the skull is intact,
without evidence of fracture.

The brain is fixed in formalin for several weeks. Coronal sections
through the cerebral hemispheres, cerebellum and brain stem are
unremarkable. The ventricular system is normal.

Neck: The neck is dissected at the last. Layer by layer examination of
neck is grossly unremarkable for any gross trauma. The hyoid bone,
larynx and cervical spine are grossly intact. The soft tissues,
including the skeletal muscles, blood vessels, thyroid and connective
tissues are grossly unremarkable.
Name of Deceased: WHITMER JR., DONALD ME#: A-18-393

Cardiovascular System: The heart weighs 480 grams. The epicardial
surface is glistening. The coronary arteries arise normally. The course
of the left anterior descending coronary artery shows bridging up to a
1/2 inch distance. No gross atherosclerosis or thrombi are noted.
Serial sectioning of the heart reveals reddish-brown myocardium. The
heart is open in the direction of the blood flow, yielding unremarkable
valves, papillary muscles, and chordae tendineae. The chambers are
adequate. The venae cavae and pulmonary arteries are free of antemortem
thrombus. The aorta is intact, with mild atherosclerosis.

Respiratory System: The trachea and bronchial tree are clear of debris
or foreign material; the mucosal surfaces are smooth and yellow-tan. The
right chest cavity is unremarkable while the left chest cavity shows
extensive adhesions and fibroses between left lung and the left chest
cavity walls. The right lung weighs 1500 grams and the left 820 grams.
The pleural surfaces of the right lung are smooth and glistening.
Incisions through the blood vessels and main stem bronchi are negative
for thrombosis or foreign body lodgment. Serial sectioning reveals mild
to moderately firm, mildly edematous and congested parenchyma.

Gastrointestinal System: The tongue muscle of anterior half has focal
small hemorrhage. The esophagus is lined by gray smooth mucosa and is
empty. The stomach contains 20 milliliters of dark brown thick paste.
The mucosa is without any gross lesions. The small and large intestines
are unremarkable to inspection and palpation. The appendix is present.

The liver weighs 2100 grams. The capsule is intact, glistening and
smooth. The parenchyma is rubbery and tan-brown. The gallbladder
contains approximately 25 milliliters of yellowish-brown bile. Serial

sectioning of liver is grossly unremarkable.

The pancreas has the usual external configuration and on section has the
usual tan lobulated appearance.

Reticuloendothelial System: The spleen weighs 270 grams. The capsule is
intact, smooth and glistening. The parenchyma is firm and dusky red.

The regional lymph nodes are normal. The bone marrow is red-purple and
homegenous.

Genitourinary System: The right and left kidneys weigh 230 grams each.
Stripping of the capsules reveals cortical surfaces of mild
nephrosclerosis. On section there is good cortical medullary definition.
The calices, pelves and ureters are unremarkable. The urinary bladder
contains approximately 200 milliliters of clear urine and the mucosa is
without gross lesions.
Name of Deceased: WHITMER JR., DONALD MBE#: A-18-393
Representative section of prostate gland area is preserved. The
testicles are within a grossly unremarkable scrotal sac. Incisions into

the testes are grossly unremarkable.

Endocrine System: The thyroid and adrenal glands are_ grossly
unremarkable. The pituitary gland is within a grossly unremarkable sella
turcica of the sphenoid bone.

Musculoskeletal System: The muscles, joints and bones are without any
gross note.

TOXICOLOGY

Samples from blood, urine and vitreous are submitted for toxicology
evaluation. For results see toxicology report.

HISTOLOGY

Brain: Multiple sections are taken from different areas of the brain.
Microscopically the brain tissues are essentially unremarkable.

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‘y Wuesthoff 6800 Spyglass Court y

 

 

 

REFERENCE Melbourne, Florida 32940

LABORATORY Julie Bell, M.D., Laboratory Director
Patient: WHITMER JR, DONALD Age: 45 Sex: M
Client Patient ID: 18-18-393 Account#: VxX013722

Physician: QAISER, SAJID Client: DIST 18 MEDICAL EXAMINER

   

 

Specimen Collected :07/23/2018 11:30 Lab Order No: 912301050 Reg Date: 07/23/18
Test Name Result Units Cutoff/Reporting Limits

 

 

ELECTROLYTE PANEL ~— ELEPV
SPECIMEN TYPE

VITREOUS

UREA NITROGEN 15.5 mg/dL
CREATININE 0.68 mg/dL
SODIUM 140 mEq/L
POTASSIUM 11.8 mEq/L
CHLORIDE 116 mEq/L
GLUCOSE <10.0 mg/dL

Glucose results from patients with gammopathies, in particular
Waldenstrom's Macroglobulinemia may result in an abnormal
reaction profile. Although the incidence of this occurrence
is rare, glucose results from these patients should be
interpreted with caution.

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Specimens were intact upon receipt. Chain of custody, specimen security and integrity has
been mantained. Testing has been performed as requested

Reviewed py: Neat \ —— Date: l Laelie

FINAL REPORT - THIS COMPLETES REPORTING ON THIS CASE
INSTANT REPORT WHITMER JR, DONALD
Form: MM Siogle RLIT Page 1 of 1 Printed: 07/27/18 18:41

 

 

 

 
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W' “thoff Reference Laboratory

 

 

Meroe grass Court

elbourne, Florida 32940

LABORATORY Julie Bell, M.D., Laboratory Director

Patient: WHITMER JR, DONALD Age: 45 Sex: M
Client Patient ID: 18-18-393 Account#: VX011548

Physician QAISER, SAJID Client: DIST 18 MEDICAL EXAMINER

     

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RORTCOLOGY
Specimen Collected :05/22/2018 Lab Order No: "992201243 Reg Date: 05/22/18
Test Name Result Units Cutoff/Reporting Limits

 

VOLATILE PANEL - VOLP
SPECIMEN TYPE

ILIAC BLOOD
ETHANOL NONE DETECTED g/dL 0.010
ACETONE NONE DETECTED mg/dL 7.5
METHANOL NONE DETECTED mg/dL 15.0

ISOPROPANOL NONE DETECTED mg/dL 15.0

Analysis by Gas Chromatography (GC) Headspace Injection
BLOOD DRUG SCREEN - BDSME
, SPECIMEN TYPE
.,. ILIAC BLOOD
_ GC/MS

METHAMPHETAMINE, NICOTINE, NICOTINE METABOLITE, CAFFEINE
. LC/MS/MS

OXYCODONE, AMPHETAMINE, METHAMPHETAMINE, NALOXONE, CAFFEINE, CAFFEINE
“es: METABOLITE, ATROPINE

BLOOD IMMUNOASSAY SCREEN

 

AMPHETAMINES POSITIVE mg/L 0.100
BARBITURATES NEGATIVE mg/L 0.100
BENZODIAZEPINES NEGATIVE mg/L 0.050
BUPRENORPHINE NEGATIVE mg/L 0.001
CANNABINOIDS NEGATIVE mg/L 0.050
COCAINE METABOLITE NEGATIVE mg/L 0.100
FENTANYL NEGATIVE mg/L 0.001
OPIATES mg/L 0.050

Screening result suggests the need for further testing
AMPHETAMINES PANEL - AMPP
SPECIMEN TYPE
ILIAC BLOOD

 

 

 

TOXICOLOGY_REPORT WHITMER JR, DONALD
Form: MM Siogle RLIT Page 1 of 3 Printed: 06/21/18 13:04
 

(sp Wuesthoff W. ‘thoff Reference Laboratory

 

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_, REFERENCE Melbourne, Florida 32940
LABORATORY Julie Bell, M.D., Laboratory Director
Patient: WHITMER JR, DONALD Age: 45 Sex: M
Client Patient ID: 18-18-393 Account#: VxX011548
Physician: QAISER, SAJID Client: DIST 18 MEDICAL EXAMINER

   
    
  

    
 

      

    

   

     

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Specimen Collected :05/22/2018 892201243 Reg Date: 05/22/18

Test Name Result Units Cutoff/Reporting Limits
AMPHETAMINE 0.118 mg/L 0.050
METHAMPHETAMINE 1.954 mg/L 0.050

Analysis by GC/MS
FREE OPIATES PANEL - OPPF
SPECIMEN TYPE

ILIAC BLOOD
CODEINE NONE DETECTED mg/L 0.025
MORPHINE NONE DETECTED mg/L 0.025
HYDROCODONE NONE DETECTED mg/L 0.025
6-MONOACETYLMORPHINE NONE DETECTED mg/L 0.005
HYDROMORPHONE NONE DETECTED mg/L 0.005
OXYCODONE 0.292 mg/L 0.025
OXYMORPHONE 0.008 mg/L _ 0.005

Analysis by GC/MS

MISCELLANEOUS TEST - TXMIS
SPECIMEN TYPE

ILIAC BLOOD
MISCELLANEOUS TEST Ks
NALOXONE-FREE (UNCONJUGATED) , BLOOD .
—_—
Naloxone = 20 ng/mL Reporting limit = 0.50 ng/mL

Intravenous injection of 1.4 mg naloxone produced an average peak plasma
concentration of 10 +/- 1 ng/mL at two minutes. The blood to plasma ratio is not
known.

Testing performed by NMS Labs, 3701 Welsh Rd, Willow Grove, PA 19090-2910

 

TOXICOLOGY_REPORT WHITMER JR, DONALD

Form: MM Stogle RLIT Page 2 of 3 Printed: 06/21/18 13:04
 

(sp Wuesthoff W’ .thoff Reference Laboratory

 

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REFERENCE Melbourne, Florida 32940
LABORATORY Julie Bell, MD., Laboratory Director
Patient: WHITMER JR, DONALD Age: 45 Sex: M
Client Patient ID: 18-18-393 Account#: VX011548
Physician: QAISER, SAJID Client: DIST 18 MEDICAL EXAMINER

     

    
   

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Specimen Collected :05/22/2018 Lab Order No: 892201244 Reg Date: 05/22/18
Test Name Result Units Cutoff£/Reporting Limits

URINE DRUG SCREEN COMPREHENSIVE - UDSME
SPECIMEN TYPE
URINE
GC/MS
OXYCODONE, AMPHETAMINE, METHAMPHETAMINE, CAFFEINE, NICOTINE, NICOTINE METABOLITE

OXYCODONE, AMPHETAMINE, METHAMPHETAMINE, CAFFEINE, CAFFEINE METABOLITE DETECTED

 

BY LC/MS/MS
URINE IMMUNOASSAY SCREEN
AMPHETAMINES POSITIVE mg/L 0.500
BARBITURATES NEGATIVE mg/L 0.200
BENZODIAZEPINES NEGATIVE mg/L 0.200
COCAINE METABOLITE NEGATIVE mg/L 0.150
MDMA/MDA mg/L 0.300
Screening result suggests the need for further testing
METHADONE NEGATIVE mg/L 0.300
METHAQUALONE NEGATIVE mg/L 0.300
OPIATES POSITIVE mg/L 0.300
OXYCODONE POSITIVE mg/L 0.100
PHENCYCLIDINE NEGATIVE mg/L 0.025
PROPOXY PHENE NEGATIVE mg/L 0.300
CANNABINOIDS NEGATIVE mg/L 0.050 —
TRICYCLICS NEGATIVE mg/L 0.300

Specimens were intact upon receipt. Chain of custody, specimen security and integrity has
been mantained. Testing Rias been performed as requested

Reviewed by: As A ~~ bs \. MN — Date: fo ashe

FINAL REPORT - THIS COMPLETES REPORTING ON THIS CASE
TFOXICOLOGY_REPORT WHITMER JR, DONALD
Form: MM Single RLIT Page 3 of 3 Printed: 06/21/18 13:04

 

 

 
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DISTRICT 18
OFFICE OF THE MEDICAL EXAMINER
INVESTIGATION REPORT

ME Investigator: At Scene: ME Case #:
Corey Johnson Yes 18-393
a

Number of pages: 2

   

 

| INFORMATION PROVIDER:

 

Agency: Medical Facility: Person: Date Reported: Time: Police CR #:
F.D.L.E. HRMC Ryan RN 5/21/18 1350 Hrs

| DECEASED:

; Name: Donald Whitmer Jr Age: 45 Date of Birth: [| Race/Sex: W/M Telephone:

Address: 261 Edgevale Rd SE, Palm Bay, F1 32909 Occupation/Employment:

 

| DEATH PRONOUNCEMENT:

 

_Piges of Death: ERMC 2 ER mmm ettntnnnnnnnniniiiinnnnemnne Inside of City Limits: Y@S
| ened By WMD ee Adress

Manner (Possible) of Death: At Work? No

Incident Date/Time: 5/21/18, 1141 Hrs Weapon/Caliber:

t If Traffic Death — Seatbelt in use? Vehicle Deceased: Versus Other:
Information:

| Post Mortem Changes:

5 Body Heat: Warm Rigor Mortis: Full Decomposition: No Liver Mortis: Present/Consistent

H Trauma: Yes Describe: defect to finger on left hand, defect to center upper back, defect to forehead

| ATTENDING PHYSICIAN :
—“—_—-—“-“—“———“_—“_C BHA

Location / Position: Supine on gurneyin ERroom |... Clothing: F white SOCK cc cecseneuneunnsennues neue

 

MEDICAL HISTORY:
| HTN

 

| MEDICATIONS:

 

| NEXT OF KIN:

Address: Notified of Death:

E Notified of M.E. Investigation: Notified By: Date: Time: Hrs

| Investigation Status; Active Pending __ Date Report Submitted: 5/22/18 Submitted By: Corey Johnson —
   

 

DISTRICT 18
OFFICE OF THE MEDICAL EXAMINER
INVESTIGATION REPORT
| PAGE 2
| "Deceased Name: MEO Case #: PD CR #:
| Donald Whitmer Jr 18-393

 

| BULLETS:

| © Dec'd died in ER (29 mins)

¢ WMPD used taser prior to death

Ls In custody death by WMPD investigated by FDLE.

| * Dec'd was with daughter when he engaged in altercation with cashier inside of Publix.

| © Dec'd appeared to be under the influence w/ slurring speech and unsteady gait at the time and 911 was called.

+ © Dec'd became combative with 2 WMPD officers and was taken down by force and Taser (Drive stun method) was used.
| © The dec'd went unresponsive on scene and was transported to HRMC where he was pronounced.

F © Incident caught on video inside of Publix.

AT SCENE:
+ [arrived on scene @ HRMC and made contact with dec'd at 1500 hrs.
t FDLE Agent (Lisa), 1 CSI (WMPD), 1 LEO (WMPD)

SCENE:

Observed the dec'd lying supine on gurney in ER, wearing 1 sock; Clothing removed prior to my arrival.
Dec'd was in mod/full rigor, warm under armpits, and lividity was not fixed.

! Observed a defect to left hand, defect to center upper back area, and defect to forehead.

| Medical devices are still in place.

} Dec'd placed in a sealed body bag.

| DECEDENT:

As per investigation with information provided by FDLE & WMPD, on 5/21/18, late morning hours, the dec'd picked up his
daughter and the two went to Publix on W. New Haven Ave. While in Publix, the dec'd engaged in verbal altercation with «
cashier who he accused of stealing money from his card. After the situation escalated LEO were called and the dec'd was
F escorted outside. According to the daughter, the dec'd was not in his normal state of mind and doesn’t know what made him
act erratically. She also advised that the dec'd was sweating heavily when he picked her up.

| After talking to LEO outside; at approx 1141 hrs the dec'd decided to go back into the store, whereas LEO was called bac
inside to escort him out. During this confrontation, the dec'd became combative with the 2 LEOs forcing them to physicall
take him down. During the scuffle a Taser was used (Drive stun method).

i The incident was caught on video which shows the dec'd resisting arrest and 2 LEOs taking the dec'd to the ground. Video!
! shows 1 LEO on top the dec'd back as he lay prone on the ground. The dec'd went unresponsive during the struggle.

The dec'd was transported to HRMC arriving PEA at 1221 hrs, and pronounced at 1250 hrs. According to his daughter, the
dec'd consumes a lot of pain Rx due to a back injury. No other drug activity was reported. LEO also states that the dec'd had.
! $13,000 cash in his pocket.

L ADDITIONAL INFO:

 

nyestication Status Closed __ . a Date Submitted: 5/22/18 _._submitted By: CL Orev JONSON
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DISTRICT 18
OFFICE OF THE MEDICAL EXAMINER
SUPPLEMENTAL INVESTIGATION REPORT

   

 

| Deceased Name: MEO Case #: PD CR #:
Donald Whitmer Jr 18-393

 

| SUPPLEMENTAL INFORMATION:
TIME LINE of 5/21/18

 

j ¢ Late morning hours- Dec'd picks daughter up from her home and they go to Publix.

+ © 1036 hrs- The first 911 call was made in regards to a male (dec'd), in the store confused and may be on drugs.
Causing problems with cashier

¢ 1042 hrs - LEO arrives and escorts dec'd out of store to resolve issue

* 1141 hrs - Dec'd returns back to the store, and request to see a manager. Publix is requesting that the dec'd to be removed fror
store.

¢ 1147 hrs - Confrontation with LEOs and taser was used

+ © 1151 hrs - Dec'd unconscious on scene and CPD initiated
° 1221 hrs - Dec'd arrived at HRMC PEA

¢ 1250 hrs - Dec'd pronounced deceased in ER

° 1500 hrs - MEO arrives to ER, dec'd mod/full rigor, warm under armpits, not fixed.

 

Date Report Submitted: 5/22/18 Submitted By: Corey Johnson
. af 393 WIM 45 Yrs. 05/22/18
CASE INFORMATION WHItTMER JR, DONALD

DOB:
OFFICE OF THE MEDICAL EXAMINER
D. CI
DISTRICT 18 — BREVARD COUNTY SAJID QAISER, M
M. E. CASE #

 

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A-18-0393 W/M 45 Yrs. 05/22/18

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(~ WHITMER JR., DONALD
OFFICE OF THE MEDICAL EXAMINER DOB:
DISTRICT 18 -BREVARD COUNTY SAJID QAISER, M.D. CJJ
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WEIGHT: Oot HEIGHT: 3 DATE AND TIME OF AUTOPSY: ’ m {

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CAUSE OF DEATH: ¢/ T Be Brou~ Cah oO:

MANNER OF DEATH: P

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MORTUARY RELEASE

To: Medical Examiner

County: Brevard
State: Florida
ME Case #:

Name of Deceased: Donald E. Whitmer Jr.

Date of Birth: Le /arfaoit
Date of Death: 05/21/2018

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™~s>

age: 45 NN.
Sex: Male XN
Race: White ?

I hereby authorize the remains of the above named deceased to be released to:

Ammen Family Cremation and Funeral Care
950 Malabar Road SE

Palm Bay FL 32907

(321) 724-2224

*The person granting this permission certifies that he/she is the legal next-of-kin,
and/or has been designated by legal authority to assume full responsiblity for the
disposition of the remains of the deceased.

Name of next-of-kin:

Relationship to the deceased:

Address:

City/State/Zip:

Phone Number:

Breanna Whitmer

Daughter

770 Wildbriar Road NE

Palm Bay FL 32905

  

*signature of next-of - OZ ae MU. I

Date Signed: 05/22/18

  
 

Remains received:
Siqned:

Representative of:

 

Witness:

nate; 1AM | IS

 

Ammen Family Cremation and Funeral Care

Transport To Be Made By: Ammen Family Staff

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& Office ot ‘the fHledical Examiner

Eighteenth District - Brevard County
District Medical Examiner Sajid Qaiser, MD, FCAP, FRCPC

Diplomate of American Board of Pathology - Anatomic, Clinical & Forensic
Diplomate of Royal College of Physicians & Surgeons of Canada
Associate Medical Examiner Krzysztof Podjaski, MD

1750 Cedar Street, Rockledge, FL 32955 - Phone (321) 633-1981 « Fax (321) 633-1986

   

June 7, 2018

Dear Mr. Moore,

In response to your inquiry regarding Mr. Donald Whitmer, Jr. | am providing you
a copy of Florida Statute 406.11.

Sincerely,

Sajid S. Qaiser, M.D.
Statutes & Constitution : View S’ tes : Online Sunshine co Page | of 1

Select Year:

The 2018 Florida Statutes

 

Title XXIX Chapter 406 View Entire
PUBLIC MEDICAL EXAMINERS; DISPOSITION OF HUMAN Chapter
HEALTH REMAINS

406.11 Examinations, investigations, and autopsies.—

(1) In any of the following circumstances involving the death of a human being, the medical
examiner of the district in which the death occurred or the body was found shall determine the cause of
death and shall, for that purpose, make or have performed such examinations, investigations, and
autopsies as he or she shall deem necessary or as shall be requested by the state attorney:

(a) When any person dies in the state:

Of criminal violence.
By accident.
By suicide.
Suddenly, when in apparent good health.
Unattended by a practicing physician or other recognized practitioner.
In any prison or penat institution.
In police custody.
In any suspicious or unusual circumstance.
By criminal abortion.
By poison.
By disease constituting a threat to public health.
By disease, injury, or toxic agent resulting from employment.

(b) When a dead body is brought into the state without proper medical certification.

(c) When a body is to be cremated, dissected, or buried at sea.

(2)(a) The district medical examiner shall have the authority in any case coming under subsection (1)
to perform, or have performed, whatever autopsies or laboratory examinations he or she deems
necessary and in the public interest to determine the identification of or cause or manner of death of
the deceased or to obtain evidence necessary for forensic examination.

(b}) The Medical Examiners Commission shall adopt rules, pursuant to chapter 120, providing for the
notification of the next of kin that an investigation by the medical examiner’s office is being conducted.
A medical examiner may not retain or furnish any body part of the deceased for research or any other
purpose which is not in conjunction with a determination of the identification of or cause or manner of
death of the deceased or the presence of disease or which is not otherwise authorized by this chapter,

part V of chapter 765, or chapter 873, without notification of and approval by the next of kin.
History.—s. 6, ch. 70-232; s. 26, ch. 73-334; s. 1, ch. 77-174; s. 1, ch. 87-166; $s. 29, ch. 97-103; s. 3, ch. 98-253; s. 48, ch.
2006-1; s. 28, ch. 2015-4,

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http://www.leg.state.fl.us/statutes/index.cfm?mode=View%20Statutes&SubMenu=1&App ... 6/7/2018
 

THE LAW OFFICE OF

HN VERNON
MOORE, P.A.

 
   
 

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THE LAW OFFICE OF JOHN VERNON MOOREJP.A.
Attomey & Counselor at Law
3270 Suntree Boulevard, Suite 2218

Melbourne, Florida 32940

    
  
 

  

T: (321) 426-0209

www | Mprelepal com

  

June 4, 2018

  
 
 

VIA E-MAIL AND U.S. MAIL

Dr, Sajid Qaiser TB,
L.E. McHenry Medical |
1750 Cedar Street i

  
 
 
 
 
  
  
  
  
  
   

  

y 21, 2018)
Dear Dr, Qaiser: a

The undersigned attorney rep sents the 3
2018): The purpose of this le Hisito form

Sf Mr. Dona iid Whitmer, Jr. (deceased May 21,
gi eC uest exp anation why your | officé'released Mr.
Whitmer’ s bey but, Sarmipey es has retain:

- Mr. Whit me s brain, hyoid ‘bone, and larynx.

The: ‘explanation and any. rélated repirts shoul d be forgarded te either my fax (321) 821-0466,
email Gohn@IMooreLegal. com), or Uw. S. Mail 0 the Address lisjed ‘on this letterhead.
au nt se ty “y 3 é 1
Gliestions regarding this re etd eatly, at the above address or at
p21) 288- -8902. ee? i oh

  
  

 

- Sincerely

  

‘/s/ Dictated but n not t signed in in? a Ap?
order to avoid delay /S. /

John Vernon Moore, Esq.

 
THE LAW OFFICE OF r

MOORE, P.A. RECEIVED
THE LAW OFFICE OF JOHN VERNON MOORE, P.A. MAY 2 9 2018
Attomey ol Counselor at Law
3270 Suntree Boulevard, Suite 2218
Melbourne, Florida 32940 DISTRICT 18
T: (321) 426-0209 MEDICAL EXAMINERS OFFICE

 

 

www.]MooreLegal.com

May 25, 2018

Dr. Sajid Qaiser
L.E. McHenry Medical Examiner Facility

1750 Cedar Street
Rockledge, FL 32955 ~ s | 4

Dear Dr. Qaiser:

VIA FACSIMILE (321) 633-1986 ay

The undersigned attorney represents:the Estate of Mr. Donald Whitmer, Jr. (deceased May 22,
2018). The purpose of this letter is to formally request copies of the official autopsy and
toxicology reports. As you know, these reports are essential in the completion of a thorough and
accurate investigation and understanding of Mr. Whitmer’s death.

The reports should be forwarded to either my fax (321) 821-0466, email
(John@JMooreLegal.com), or U.S. Mail to the address listed on this letterhead.

Questions regarding this request may be addressed to John Vernon Moore, Esquire, at the above
address or at (321) 288-8902.

Thank you for your prompt response to this request.

Sincezety,

Wh

ohn Verhon Moore, Esq.

SHO WOOL OS,
~ Ooh Con,

 
